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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                MEDFORD DIVISION


MICHAEL WALTER SMITH, et al.,
                                                    No. 1:13-cv-1201-CL
             .Plaintiffs,

       v.

MUTUAL OF ENUMCLAW INSURANCE                        JUDGMENT
co.'
               Defendant.


       Based     on   the   record,     this   action     is   dismissed      without

prejudice.

       IT IS SO ORDERED.



       DATED this       /~day       of February, 2014.




                                OWEN M. PANNER
                                U.S. DISTRICT JUDGE


1 - JUDGMENT
